Case 21-04019-KKS Doc13 Filed 07/22/21 Page1of2

FLNB Local Form 5

Exhibit Tag/ Cover Sheet

Party submitting: Plaintiff Ex. ¢ 61
Admitted: Yes or No (circle one)

Debter: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Adv. No.:

Nature of Hearing/

Docket No:

Dated 07/22 , 2621.

 

By: » Deputy Clerk
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United States Department of Education
Freedom of Information Unit Date: November 22, 2017

Re: Freedom of Information Act Request
Dear Sir or Madam:

Pursuant to the Freedom of Information Act , 5 U.S.C. § 552 and the Privacy Act, 5 U.S.C. §
552a, I request of copy of :

(1) all records, specifically those containing the earliest date, regarding lost, missing, switched

or otherwise incorrect student transcripts involving St. Matthews University School of Medicine
and/or St. Joseph's College of Maine.

{2) all records, specifically those containing the earliest date, regarding the misrepresentation -

of federal student loans involving St. Matthews University School of Medicine and/or St.
Joseph's College of Maine.

(3) all records regarding why this DOE email and these documents (ex. 1-1f) were redacted.
(4) all records pertaining to me.

i am requesting that the information be provided in the least expensive form possible
{preferably electronic) along with any segregable portions that are not exempt from disclosure.

Ifany expenses in excess of $50.00 are incurred in connection with this request, please obtain
my approval before any such charges are incurred.

j am requesting a waiver of fees because my interest in the records is not primarily commercial
and because tens of millions of individuals have federal loans provided and insured under Title [IV and

the disclosure of this information will contribute significantly to public understanding of the operations
and activities of the government.

iam requesting expedited processing because the issue of my loss of certain statutory rights will
soon arise.

Please respond within 20 days. If this request is denied in whole or in part, please provide a
detailed justification for withholding these records.

  

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